Q‘\U'I-ILF.»JN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

J. Gregory Milinoe

SKADDEN, ARPS, SLATE, MEAGH ER & FLOM LLP
4 Times Square

New York, New York 10036

'l`elephone: (212) 735-3000

Facsimile: (212) F135-2000
Gregery.l\/lilmoe@skadden.com

 

-and-

Van C. Durrer, ll (Calit`c~rnia State Bar No. 226693)

Ramon M. Naguiat (Calii"ernia State Bar No. 2092?1)
SKADDEN, ARPs, SLATE, MEAGHER & FLOM LLP

300 Scuth Grand Avenue, Suite 3500

Los Angeles, Calit`ornia 900'?1-3144

rI`elcphc)ne: (213) 68?-5000

Facsimilc: (213) 682-5600
Van.Durrer@skadden.eom
Ramon.l\laguiat@skadden.cem

Attomeys for the National f‘lockey League
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

 

ln re: ) Case No.: 08-3100] (TEC)
)
BDB MANAGEMENT LLC, ) Chapter 11
)
Debtor. )
)
) NOTICE OF APPEARANCE AND
) REQUEST FOR NOTICE AND
) SERVICE OF PAPERS
)
)

 

L

 

PLEASE TAKE NOTICE that the undersigned appears as counsel to the National
Hockey League (the “NHL”:), a party in interest, and hereby files this notice of appearance and

requests that all notices and pleadings hereafter given or filed in this case be given and served upon

J. Gregcry Milmoc

Skadden, Arps, Slate_, Meagher & Flom LLP
4 Times Square

New York, New York 10036

(212) ?`35-3000

(212) 235-2000
Gregory.Milmoe@skadden.com

3.§€?1€@3£3\]9@@11€111€@©¢#@4[0€$ EH@I(dti&GMHGBiCe E|'PE$EG£ByQMZ!Z{@Ba|]}@d§l&WeagIB&Q€ 1 01 8

 

 

\G®'-JIG‘\U\~I`AUJNl-l

NNNHNNNMNHr-n\-¢m»-)-\_n\-l_\_\
M‘-\Q\CJ’|LLMNHG\DM~JG\U\ALMNHC=

O

 

Van C. Durrer, II

Skadden, Arps, Slate, Meagher & Flom LLP
300 South Grand Avenue, Suite 3500

Los Angeles, California 900?`1-3144
Telephone: (213) 687-5000

Facsirnile: (213) 687-5600
Van.Durrer@sl<adden.com

Ramon M. Naguiat

Skadden, Arps_._ Slate, Meagher & Florn LLP
300 South Grand Avenue, Suite 3500

Los Angelcs, Califomia 90071-3144
Telephone: (213) 68?~5000

Facsirnile: (213) 687-5600
Ramon.Naguiat@skadden.com

Gregory W. Fox

Skadden, Arps, Slate, l\/[eagher & Flom LLP
4 Times Square

New York, l\lew York 10036

(212) 735-3000

(212) 235-2000
Gregory.Fox@skadden.com

PLEASE TAKE FURTHER NOTICE that, pursuant to ll U.S.C. § 1109(b), the
foregoing request includes not only the notices and papers referred to in Rules 2002, 3017(a), 900?,
and 90]0(a) and (b) of the Federal Rules ofBankruptcy Procedure._ but also includes, without
limitation, orders and notices of any application, motion, complaint, demand, petition, pleading, or
request, whether formal or informal, written or oral1 and whether transmitted or conveyed by mail,
delivery, telephone, telegraph, telex, or otherwise filed or made with respect to the above»captioned
case and proceeding therein.

PLEASE 'l`AKE FURTHER NOTICE that neither this notice nor any later
appearance, pleading, claim, or suit shall waive (l) any right to have final orders in non-core
matters entered only after de novo review by a District Judge, (2) any right to trial byjury in any
proceeding so triable in these cases or any case, controversy, or proceeding related to these cases,
(3) any right to have the District Court withdraw the reference iri any matter subject to mandatory

or discretionary withdrawal, or (4) any other substantive or procedural right.

[\..)

N ' m dR- f N ' d " '
as§t:|c§§-Si]£%liancljidc# gilliam |§i|edt:wOe€?Z?S/i)r§m grif£iés :yd%e/Wt/'@§a|ll§[i§k¢i.)h%cagl§age 2 of 8

 

l

 

\\DOO-JG'\UI¢|LL»JNr-‘

NNNNNNNv-ll-\)-\l-l\-»-»-\»-i-\l-i
G'\Ul-li~LMI-J\-‘CD\DQ¢'-IQ\U`ILMNl-\¢

27

28

 

the Court.

DATED: .lune 2?, 2008

 

 

 

PLEASE TAKE FURTHER NOTICE that (1) this l\lotice of Appearance and
Request for Notice and Service ofPapers is without prejudice to the NHL’s rights, remedies
claims, actions, defenses, setoffs, or recoupments in law or in equity against any entity in this
chapter l l case or in any other action, all of which rights, remedies, claims, actions, defenses,
setoffs and recoupments are expressly reserved and (2) any objection that may be made to the

jurisdiction ot`the Court shall not be deemed or construed to submit the NHL to the jurisdiction of

SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP

J. Gregory Milmoe

4 Times Square

New York, New York 10036
Telephone: (212) Fr'35-3000
Facsimile: (212) 735-2000

-and-

By: fsr' Van C. Durrer. ll
Van C. Durrer, ll (California State Bar No. 226693`)
300 South Grand Avenue, Suite 3500
Los Angeles, Calit`ornia 90071-3144
Telephone: (213) 682-5000
Facsimile: (213) 68'?`-5600

Attorneys for the National Hockey League

3

§i§t§a@f’$" sati:°asta‘:e“* his tanner fares ‘?eesr)a§a§s§abegeag9 3 a 8

 

Ul¢lh-'Ln\

\QOG'-JG'\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
2?'
28

PROOF OF SERVICE
S'I`ATE OF CALIFORNlA, COUNTY OF LOS ANGELES

l am employed in the county of Los Angeles, State of California. I am over the age of 18 and not a
party to the within action; my business address is 300 South Grand Avenue, Suite 3400, Los
Angeles, California 90071.

On June 27, 2008, l served the foregoing documents described as:

NOTICE OF APPEARANCE AND REQUEST FO_R NOTICE AND SERVICE OF PAPERS
on the interested parties in this action addressed as follows:

SEE ATTAC}-IED LIST

E (BY US MAIL) I am readily familiar with the iirm's practice for the collection and
processing ol`correspondence for mailing with the United States Postal Service and the fact that the
correspondence would be deposited with the United States Postal Service that same day in the
ordinary course ot`business; on this date, the above-referenced correspondence was placed for
deposit at Los Angeles, California and placed for collection and mailing following ordinary
business practices

l declare under penalty of perjury under the laws of the State of California that above is true
and correct.

 

 

Executed on June 27, 2008 at Los Angeles, California.

 

Andy Shah fs)'Andy Shah
'l`ype or Print Nalne Signature

 

'iSe: 08-31001 DOC# 40 Filed: OG/I’RHDBF OEBEFRWEEEOG/ZWOS 15254:47 Page 4 Of 8

 

5l=45‘93.0|-l,os Angeles Server lA v MSW

 

Label Matrix for local noticing
0921-3

Case 08-31001

Northern District of California
San Franeisco

Fri Jun 22 12:48:08 PDT 2000

AEG Facilities, Inc.

c/o Heryl Macklin[ Esq.

Holme Roberts 0 OWen, LLP

550 Nission Street, 25th Floor
San Francisco. 00 90105-2994

BDB Management LLC

3000 Sand Bill Road
Building 1, Suite 240
Menlo Park, 00 94025-7113

Brandenburg Karen
Attn Joseph Di Leo
1122 Willow Street #200
San Jose 00 95125-3103

Brandenburg Erio Sep Prop Trus
Eric Brandenburg

1122 Willow Street Suite 200
San Jose 00 95125-3103

Brandenburg Revocable Trust
Lee H and Diane M Brandenburg
1122 Willow Street 0200

San Jose 00 95125-3103

Bronstein Irving
1509 Whipple 0venue
Hayward 00 94544-?920

Chief Tax Collection 5eetion
Employment Developnent Section
P.O, Box 026203

Sacrament, 00 94230

Patrick M. Costello
Bialson, Bergen and Schwah
2600 31 Camino Real 0300
Palo 01to, CA 94306-1220

Ecooomic Concepts Inc
Kenneth R Hartstein Trustee
10001 Bast Happy Valley Rd 01
Scottsdale 02 05255-81?1

Case: 08-31001

1999 Del Biaggio Family Trust
3000 Sand Hill Road

Building 1 Suite 240

Menlo Park 00 94025-7113

Andrew M. Thau

Skadden, Arps, Slate, Meagher 0 Flom LLP
Four Times Square

New York, New York 10035-5522

aaron Family Rer Trust
William Baron Trustee
1122 Willow Street 0200
Saa Jose 00 95125-3103

Brandenburg William
1122 willow Street #200
San Jose 00 95125-3103

Brandenhurg Jackson 2002 Trust
Eric Brandenburg Trustee

1122 Willow Street 1200

San Jose 00 95125-3103

Brandenburg Taylor 2002 Trust
Bric Brandenberg Trustee

1122 Willow Street #200

San Jose 00 95125-3103

00 Employment Development Dept.
Bankruptey Group NIC 920

P,O. Box 826800

Sacramento, CA 94280-0001

Cennor David
3450 Quail Halk Court
Danville CA 94506-5832

Croesus Investments LLC
2954 Via Della 0more
Henderson NV 09052-4028

Economies Coneepts Ine
lenneth R Hartstein Trustee
10801 East Eappy Valley Rd #l
Seottsdale 02 85255»81?1

1999 Del Biaggio Pamily Trust
3000 Sand Hill Road #1-240
Henlo Park CA 91025-7120

Aymer 1991 Family Trust
Michael 0 AYmer
114 Alerche Drive
bos Gatos C0 95032-5153

Brandenburg Gary Revoc Trust
bee & Diane Brandenburg Truste
1122 Hillow Street #200
San Jose 00 95125-3103

Brandenhurg Brenton Irrev Trus
Karen Brandenburg Trustee
1122 Willow Street #200

San Jose 00 95125-2103

Brandenburg Rev Trust

bee and Diane Brandenburg
1122 Willow Street Suite 200
San Jose 00 95125-3102

Brandenburg william Rev Trust
William Brandenburg Trustee
1122 Willow Street Suite 200
San Jose 00 05125-3103

00 Franchise Tax Board

Special Procedures Bankruptcy Unit
P.O. Box 2952

Sacramento, CA 05812-2952

Cook Gary T
533 Flannery Street
Santa Clara CA 95051-5112

Di Leo Joseph
1122 Willow Street 0200
San Jose 00 95125~3103

G. Larry Engel

Law effices of Morrisou and Foerster
425 Market St.

San Franeisco. 00 94105-2406

Doc# 40 Filed: 06/27/08 Entered: 06/27/08 15:54:47 Page 5 of 8

Eric Branden.burg Sep Prop Trus
Eric Brandenburg Trnstee

1122 willow Street 0200

San Jose 00 95125-3103

Goyak John K

3900 Howard Hughes Parkway
Suite 350

Las Vegas NV 89159-5954

Jay M. Goffman

Skadden, 0rps. Slate, Neagher t Flon LLP
Four rimes Square

New York. New fork 10030-5522

Rodger M. Landau

bandau and Berger LbP

1001 Century Park East 01450
bos 0nge1es, 00 90062-2315

Hayo Family Rev Trust
Cesar 0 Mhyo Trustee
10001 Hontewood Drive
Saratoga 00 05020»6221

0r1andi Lauren Bella Gift Tr
0rmin L McKee Truetee

P0 Box 550

Santa Clara 00 95052-0668

Orlandi Richard 01ex Gift Tr
0rmin L McKee Trustee

00 Box 558

Santa 01ara 00 05052-0560

Peters RW 0 CH 1992 Trust
Robert w Peters TTE
1282 St Mark COurt

bos 01tos 00 91020-2041

Predators Holdings. LP

ejo Waller Lansden Dortch 0 Davis. LLP
511 Union Street, Suite 2200
Naehville, TN 32219-1291

Nick P. Saggese

Skadden, 0rps, Slate, Heagher & Flon, 10
300 South Grand 0venue, Suite 3400

Los 0ngelee, 00 90021-3132

Julie H. Glosson

Offiee of the United States Trustee
235 Pine St. 0000

San Franciseo, 00 94104-2235

David Hengehold

John W. {Jayl Fowler, Esq.
Bergeson, LLP

303 01maden Blrd., Suite 500
San Jose, 00 95110-2212

K Fab Inc
3411 Leonard Court
Santa Clara 00 95054-2053

Marisigan Rene and Ramona
4323 Mal;ard Creek Circle
Stockton 00 05202-5205

Nioholas Miohael 0
Irvin D Nicholae Jr
PO Box 250

Diablo 00 94523-0250

Orlandi bindsey B 01tt Trust
0rmin MeKee Trustee

PO Box 550

Santa 01ara 00 95052~0508

Peregrine 0eeet Group Inc
Robert F Gale

9835 Carlton Court

Granite Bay 00 95245-5215

Peterson Chuek
12755 Folsom Blrd
Folsom 00 95530-8092

RMM LP

Richard 0 0rlandi

3131 Riddle Road

San Jose 00 95112-2245

Santa re Trest Inc
Paul Davis 120

PO Box 22290

Santa Fe NM 82502-2290

Jay N. Goffman

Skadden, 0rps, Slate, Neagher 0 Flom 000
Four Times Square

New lork, NY 10035-6522

lplINTERNAL REVENUE SBRVICE
CENTRALIZBD INSOLVENCr OPERATIONS
Po sex 21116

PHILADBLPHIA PA 19114-0325

Knoerle Diana bee Irrev Trust
Karen Brandenburg Trustee
1122 Willow Street #200

San Jose 00 95125-3103

Mayo 0esar 0 Roth IRA
10001 Montewood Drive
Saratoga 00 950?0-5221

OEfioe of the U.S. Trustee f SF
Office of the U.S. Trustee

235 Pine St

Suite 200

San Franeisco, 00 94104-2135

Orlandi Lisa B Living Trust
Lisa B Orlandi Trustee

90 Box 558

Santa Clara 00 95052-0552

perkins Barbara
2355 Cherry Hills Drive
BYIOR 00 94505-1419

Predators Holdings, LP

020 John 0. Tishler, Esq.

waller bansden Dortoh 0 Davis, LLP
333 5. Grand AVenue, Suite 1000
Los 0nge1es, 00 90021-1523

Kurt E. Ramlo

Ekadden, 0rps, Slate, Heagher & FIon
300 S Grand 0ve. #3400

bos 0ngeles, 00 00021-3132

Silvani Peter
931? Thornton
Stockton 00 95209-1355

Case: 08-31001 Doc# 40 Filed: 06/27/08 Entered: 06/27/08 15:54:47 Page 6 of 8

Spanholtz Richard E
305 Franklin Street
San Mateo 00 94402

Staedler Rudy and Beverly
1992 Revocable Trust

1122 willow Sl:reet 0200
San Jose 00 95125-3103

U.S. 0ttorney

Civil Division

450 Golden Gate ive.

San Francisco, 00 94102-3551

warren 0. woo

c/o Skadden 0rps weagher 0 Flom
4 Times Square

Attn: Jay Goffman

New lork. NY 10036-5510

wichael St, James

St. James haw

155 wontgomery St. 01004

San Francisco, 00 94104-4115

Thornhill wary Trustee
wirth 1904 Revocahle Trust
129 Spyglass bane

Half woon Bay 00 91019-3002

ward T Bell 0 0ssociates
Proiit Sharing Plan
MHBMHthRma MM
Phoenix 02 05022-4309

Zraick Romald Jr
1122 willow Street Suite 200
San Jose 00 95125-3103

Staedler 1992 Revocable Trust
Rudy and Beverly inn Staedler
938 Eook 00urt

Incliue village 00 09451

John 0. Tishler

waller Lansden Dortch and Daris
511 Union St. #2700

NaShville. TN 32219-1291

Judith whitman

Diemer, whitman and Cardosi
25 E. Santa 01ara St.

San Jose, 00 95113-102?

Zraick Ronald and ann
1122 willow Street 0200
San Jose 00 95125»3103

The preferred mailing address [p} above has been substituted for the following entityfentities as so specified
by said entity{entities in a Notice of Address filed pursuant to 11 U.S.C. 3421£1 and Fed.R.Bank.P. 2002 {g}{i}.

IRS
?.0. Box 21125
Philadelphia, P0 19114

The following recipients may be/have been bypassed for notice due to an usdeliverable lu} or duplicate ld] address.

ldlBronstein Irving
1500 whipple avenue
naywaro ca 94544-7923

lulFirst Pitch, LLC

[ulPower Play Real Estate wanaganemtf LLC

lulThomas E. Carlson
San Francisco

lu}John Goyak

lulSEE SCHEDULE F
UNSECURED CREDITURS 0ND EQUITY
SECURITY HGLDERS 0RE THE SHME

{n]william "Bootsn Del Biaggio III

{ulR. Ibdd Neilson

lulSand Hill Ventures, 000

Case: 08-31001 Doc# 40 Filed: 06/27/08 Entered: 06/27/08 15:54:47 Page 7 of 8

Bnd of Lahel Matrix

Mailable recipients 71
Bypassed recipients 9
Total 00

Case: O8-31001 DOC# 40 Filed: 06/27/08 Entered: 06/27/08 15:54:47 Page 8 of 8

